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Counsel to the Debtors and Debtors in Possession

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                                                                     x
In re:                                                               : Chapter 11
                                                                     :
ORION HEALTHCORP, INC.                                               : Case No. 18-71748 (AST)
CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.                          : Case No. 18-71749 (AST)
NEMS ACQUISITION, LLC                                                : Case No. 18-71750 (AST)
                                                                     :
NORTHEAST MEDICAL SOLUTIONS, LLC                                        Case No. 18-71751 (AST)
                                                                     :
NEMS WEST VIRGINIA, LLC                                              : Case No. 18-71752 (AST)
PHYSICIANS PRACTICE PLUS, LLC                                        : Case No. 18-71753 (AST)
PHYSICIANS PRACTICE PLUS HOLDINGS, LLC                               : Case No. 18-71754 (AST)
MEDICAL BILLING SERVICES, INC.                                       : Case No. 18-71755 (AST)
RAND MEDICAL BILLING, INC.                                           : Case No. 18-71756 (AST)
RMI PHYSICIAN SERVICES CORPORATION                                   : Case No. 18-71757 (AST)
                                                                     :
WESTERN SKIES PRACTICE MANAGEMENT, INC.                                 Case No. 18-71758 (AST)
                                                                     :
INTEGRATED PHYSICIAN SOLUTIONS, INC.                                 : Case No. 18-71759 (AST)
NYNM ACQUISITION, LLC                                                : Case No. 18-71760 (AST)
NORTHSTAR FHA, LLC                                                   : Case No. 18-71761 (AST)
NORTHSTAR FIRST HEALTH, LLC                                          : Case No. 18-71762 (AST)
VACHETTE BUSINESS SERVICES, LTD.                                     : Case No. 18-71763 (AST)
MDRX MEDICAL BILLING, LLC                                            : Case No. 18-71764 (AST)
                                                                     :
VEGA MEDICAL PROFESSIONALS, LLC                                         Case No. 18-71765 (AST)
                                                                     :
ALLEGIANCE CONSULTING ASSOCIATES, LLC                                : Case No. 18-71766 (AST)
ALLEGIANCE BILLING & CONSULTING, LLC                                 : Case No. 18-71767 (AST)
PHOENIX HEALTH, LLC                                                  : Case No. 18-71789 (AST)
NEW YORK NETWORK MANAGEMENT, L.L.C.                                  : Case No: 18-74545 (AST)
                                                                     :
                                    Debtors.                         x (Jointly Administered)
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                        AGENDA FOR FEBRUARY 5, 2019 HEARING
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Time and Date of Hearing:   February 5, 2019 at 11:00 A.M. (prevailing Eastern Time)

Location of Hearing:        The Honorable Alan S. Trust
                            Courtroom 2554
                            United States Bankruptcy Court
                            Eastern District of New York
                            Conrad B. Duberstein U.S. Courthouse
                            271-C Cadman Plaza East
                            Brooklyn, NY 11201

Copies of Motions:          Copies of the pleadings below may be obtained from the Court’s
                            website at http://www.nyeb.uscourts.gov/ by obtaining a PACER login
                            and password from the Court’s website (a PACER password is
                            obtained      by     accessing     the    PACER        website      at:
                            http://pacer.psc.uscourts.gov). The pleadings are also available at no
                            cost on the following website maintained by the Debtors in these
                            chapter 11 cases: http://dm.epiq11.com/orionhealthcorp.




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I.    STATUS AND RULING CONFERENCES IN MAIN CASE

      1.    Status Conference on Case Management

            Related Documents:

                     A.    Order Scheduling Initial Case Management Conference
                           [Dkt. No. 184]

            Status: This matter is going forward as a status conference.

      2.    Ruling Conference on Motion of Kevin and Edel Kelly for Modification or
            Clarification of Final Order Authorizing Debtors to Obtain Post Petition Financing
            [Dkt. No. 513]

            Related Documents:

                    A.     Contested Matter Scheduling Order [Dkt. No. 657]

            Response Received:

                    A.     Objection to Kevin Kelly and Edel Kelly’s Motion for Modification
                           or Clarification of Final Order Authorizing Debtors to Obtain Post
                           Petition Financing filed by Bank of America, N.A. [Dkt. No. 552]

                    B.     Debtors’ Objection to the Motion of Kevin and Edel Kelly for
                           Modification or Clarification of Final Order Authorizing Debtors to
                           Obtain Post Petition Financing [Dkt. No. 553]

                    C.     Supplemental Memorandum in Opposition to Kevin and Edel
                           Kelly’s Motion for Modification or Clarification of Final Order
                           Authorizing Debtors to Obtain Post Petition Financing filed by Bank
                           of America, N.A. [Dkt. No. 579]

                    D.     Limited Objection of Official Committee of Unsecured Creditors to
                           Motion of Kevin and Edel Kelly for Modification or Clarification of
                           Final Order Authorizing Debtors to Obtain Post Petition Financing
                           [Dkt. No. 580]

                    E.     Reply of Kevin and Edel Kelly to Objections to Motion for
                           Modification or Clarification of Final Order Authorizing Debtors to
                           Obtain Post Petition Financing [Dkt. No. 558]

            Status: This matter is going forward as a ruling conference.




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           3.    Status Conference on Debtors’ Motion for Turnover of Documents Pursuant to
                 11 U.S.C.§ 542 [Dkt. No. 619]

                 Related Documents:

                          A.      Order Appointing Independent Reviewer [Dkt. No. 335]

                          B.      Notice of Release of First Interim Privilege Log [Dkt. No. 576]

                          C.      Notice of Release of Second Interim Privilege Log [Dkt. No. 597]

                          D.      Notice of Release of Third Interim Privilege Log [Dkt. No. 607]

                          E.      Notice of Release of Fourth Interim Privilege Log [Dkt. No. 637]

                          F.      Notice of Release of Fifth Interim Privilege Log [Dkt. No. 683]

                          G.      Proposed Stipulated Order Establishing Protocol for Turnover of
                                  Documents Pursuant to 11 U.S.C. § 542 [Dkt. No. 687]

                 Status: This matter is going forward as a status conference.

    II.     CONTESTED MATTERS IN MAIN CASE

            4.    Motion of Porteck India Infoservices Private Ltd. for Order Authorizing
                 Allowance and Directing Immediate Payment of Administrative Expense Claim
                 [Dkt. No. 612]

                 Responses Received:

                           A.      Debtors’ Objection to the Motion of Porteck India Infoservices
                                   Private Ltd. for Order Authorizing Allowance and Directing
                                   Immediate Payment of Administrative Expense Claim
                                   [Dkt. No. 679]

                  Status: This matter is going forward.1




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 A notice of hearing was not filed in connection with the motion filed by Porteck India Infoservices Private Ltd.
However, in accordance with the Court’s correspondence sent on January 24, 2019, the Debtors have included the
motion on this agenda.

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 5.    Evidentiary Hearing on Confirmation of the Plan

       Related Documents:

               A.     Debtors’ Third Amended Joint Plan of Liquidation Pursuant to
                      Chapter 11 of the Bankruptcy Code [Dkt. No. 645]

               B.     Third Amended Disclosure Statement for Debtors’ Third Amended
                      Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy
                      Code [Dkt. No. 644]

               C.     Notice of Filing of Plan Supplement to the Debtors’ Third
                      Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the
                      Bankruptcy Code [Dkt. No. 647]

               D.     Notice of Filing of Second Plan Supplement to the Debtors’ Third
                      Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the
                      Bankruptcy Code [Dkt. No. 680]

               E.     Debtors’ Memorandum of Law (I) in Support of Confirmation of
                      the Debtors’ Third Amended Joint Plan of Liquidation Pursuant to
                      Chapter 11 of the Bankruptcy Code and (II) in Reply to
                      Outstanding Objections Thereto [Dkt. No. 686]

               F.     Declaration of Timothy J. Dragelin in Support of Confirmation of
                      the Debtors’ Third Amended Joint Plan of Liquidation Pursuant to
                      Chapter 11 of the Bankruptcy Code [Dkt. No. 685]

               G.     Declaration of Jane Sullivan on Behalf of Epiq Corporate
                      Restructuring, LLC Regarding Voting and Tabulation of
                      Ballots Cast on the Debtors’ Third Amended Joint Plan of
                      Liquidation Pursuant to Chapter 11 of the Bankruptcy Code [Dkt.
                      No. 684]

               H.     Order (I) Approving the Adequacy of the Debtors’ Disclosure
                      Statement, (II) Approving the Solicitation and Notice Procedures
                      With Respect to Confirmation of the Debtors’ Joint Plan of
                      Liquidation, (III) Approving the Forms of Ballots and Notices in
                      Connection Therewith, (IV) Scheduling Certain Dates with
                      Respect Thereto, and (IV) Granting Related Relief [Dkt. No. 652]

               I.     Affidavit of Service of Solicitation Materials [Dkt. No. 662]

               J.     Proof of Publication [Dkt. No. 660]

               K.     Motion of the Official Committee of Unsecured Creditors for an
                      Order Granting Leave, Standing, and Authority to Prosecute

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                             Certain Causes of Action on Behalf of the Debtors and Their
                             Estates [Dkt. No. 504]

              Response Received:

                     A.      Texas Comptroller of Public Accounts’ Objection to Confirmation
                             of Debtors’ Third Amended Joint Plan of Liquidation [Dkt. No.
                             670]

                     B.      Objection of the State of Michigan, Department of Treasury to
                             Debtors’ Third Amended Joint Plan of Liquidation [Dkt. No. 673]

                     C.      Objection to Third Amended Plan of Liquidation Submitted by
                             Kevin and Edel Kelly [Dkt. No. 677]

                     D.      Destra Targeted Income Unit Investment Trust’s Limited
                             Statement and Reservation of Rights With Respect to the Debtors’
                             Joint Plan of Liquidation Pursuant to Chapter 11 of the
                             Bankruptcy Code [Dkt. No. 678]

              Status: This matter is going forward as scheduled.

III.     RULING CONFERENCE IN ADVERSARY PROCEEDING
         (Case Nos. 18-08154 and 18-08155)

        6.   Motion for Summary Judgment Seeking Mandatory Subordination of Claims under
             11 U.S.C. § 510(b) (Proof of Claim Nos. 113, 114, 254, 255, 268, 269)
             (18-08154, Dkt. No. 2) (18-08155, Dkt. No. 3)

              Related Documents:

                     A.      Adversary Complaint
                             (18-08154, Dkt. No. 1) (18-08155, Dkt. No. 1)

                     B.      Third Party Complaint and Counterclaim (18-08154, Dkt. No. 8)

                     C.      Answer to Adversary Complaint (18-08155, Dkt. No. 8)

                     D.      Letter Setting Ruling Conference (18-08154, Dkt. No. 7) (18-
                             08155, Dkt. No. 10)




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              Response Received:

                     A.      Cross-Motion for Summary Judgment
                             (18-08154, Dkt. No. 9) (18-08155, Dkt. No. 12)

                     B.      Reply in Further Support of Motion for Summary Judgment
                             Seeking Mandatory Subordination of Claims under 11 U.S.C.
                             § 510(b) (Proof of Claim Nos. 113, 114, 254, 255, 268, 269)
                             (18-08154, Dkt. No. 10) (18-08155, Dkt. No. 13)

              Status: This matter is going forward as a ruling conference.


Dated: February 3, 2019                     Respectfully submitted,
New York, New York
                                            DLA PIPER LLP (US)

                                             /s/ Thomas R. Califano
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